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 6                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 7                                    AT TACOMA
 8    UNITED STATES OF AMERICA,
 9                         Plaintiff,                      CASE NO. CR08-5533BHS
10            v.
11    CARLOS PEREZ,                                        ORDER DENYING
12
                                                           DEFENDANT’S MOTION TO
                           Defendant.                      WITHDRAW PLEA OF
13
                                                           GUILTY

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             This matter comes before the Court on Defendant Carlos Perez’s (“Perez”) motion
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     to withdraw his plea of guilty. Dkt. 237. The Court has considered the pleadings filed in
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     support of and in opposition to the motion, the oral arguments of counsel for the parties,
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     and the remainder of the file, and hereby denies Perez’s motion for the reasons stated on
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     the record at the hearing held by the Court on October 20, 2010.
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             Therefore, it is hereby ORDERED that Perez’s motion to withdraw his plea of
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     guilty (Dkt. 237) is DENIED.




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             DATED this 20th day of October, 2010.
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25                                                    BENJAMIN H. SETTLE
                                                      United States District Judge
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     ORDER
